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 6   Attorney for Defendant
 7   NICHOLAS VOTAW
 8
 9              IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                         EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,
                                                    CR.S. No. 2:11-CR-00514 TLN
13                             Plaintiff,
14                                                  STIPULATION AND ORDER TO
                   v.                               MODIFY CONDITIONS OF
15                                                  PRETRIAL RELEASE TO REMOVE
16   NICHOLAS VOTAW,                                CONDITIONS #12 (DRUG TESTING)
17                            Defendant.
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21          On January 10, 2012, Mr. Votaw voluntarily appeared in Court after learning that
22   a warrant was issued for his arrest. He was released the same day on conditions of
23   release and is supervised by the Pretrial Services Agency. Mr. Votaw requests that
24   Special Conditions of Release number 12 (drug testing) be removed.
25          Pretrial Services Officer Taifa Gaskins confirmed that Mr. Votaw has been
26   supervision for a long time, he has done fine with drug and alcohol testing, and she is fine
27   with removing the drug and alcohol testing condition at this time, so long as the AUSA
28   assigned to this case, Lee Bickley, is not opposed. AUSA Lee Bickley is not opposed to



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 1   this request. Accordingly, the parties request that the Court accept this stipulation and
 2   remove special condition number 12.
 3
 4
 5                                                         Respectfully submitted,
 6
 7   Dated: March 13, 2014                                 /s/ David D. Fischer
                                                           DAVID D. FISCHER
 8
                                                           Attorney for Defendant
 9                                                         NICHOLAS VOTAW
10
11   Dated: March 13, 2014                                 /s/ David D. Fischer for
                                                           LEE BICKLEY
12                                                         Assistant United States Attorney
13                                                         Counsel for Plaintiff
14
15            IT IS SO ORDERED
16   Dated: March 13, 2014
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19
     Dad1.crim
20   Votaw0514.stipo.modify.cor

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